Case 2:15-cv-01877-JRG-RSP Document 141 Filed 07/13/16 Page 1 of 1 PageID #: 636




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
        Plaintiff,                    §             Case No: 2:15-cv-01877-JRG-RSP
                                      §
  vs.                                 §             LEAD CASE
                                      §
  AMERICAN HONDA MOTOR CO.,           §
  INC.                                §
                                      §
        Defendant.                    §
  ___________________________________ §
  ROTHSCHILD CONNECTED DEVICES §
  INNOVATIONS, LLC                    §
                                      §
  .     Plaintiff,                    §             Case No: 2:15-cv-01881-JRG-RSP
                                      §
  vs.                                 §             CONSOLIDATED CASE
                                      §
  SUBARU OF AMERICA, INC.             §
                                      §
        Defendant.                    §
  ___________________________________ §

                                            ORDER

          On this day the Court considered the Unopposed Motion to Dismiss Defendant Subaru of
  America, Inc. It is therefore ORDERED that all claims by and between the parties are hereby
  DISMISSED WITH PREJUDICE, with each party to bear its own costs, expenses and attorneys’
  fees.    SIGNED this 3rd day of January, 2012.
          SIGNED this 13th day of July, 2016.




                                                    ____________________________________
                                                    ROY S. PAYNE
                                                    UNITED STATES MAGISTRATE JUDGE
